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          In the United States Court of Federal Claims
                                       No. 20-1079C

                                 (Filed: September 6, 2020)

                                (NOT TO BE PUBLISHED)

                                            )
 SEAN R. FABIAN,                            )
                                            )
                   Plaintiff,               )
                                            )
 v.                                         )
                                            )
 THE UNITED STATES,                         )
                                            )
                  Defendant.                )
                                            )
                                            )

                                 OPINION AND ORDER

        On August 25, 2020, Plaintiff, Mr. Sean R. Fabian (who is presently incarcerated
at the Federal Correctional Institution (“FCI”) in Rye Brook, New York), filed a
Complaint with this Court. ECF No. 1 (“Compl.”). Mr. Fabian’s Complaint primarily
seeks that this Court grant him a writ of habeas corpus pursuant to 28 U.S.C §§ 224l(c)(l)
and 224l(c)(3). Compl. at 1. Particularly, in support of Mr. Fabian’s habeas petition, he
asks that this Court declare that the “exercises of authority” by the United States
District Judge who presided over Mr. Fabian’s criminal case are “of NO AFFECT [and]
VOID” pursuant to 18 U.S.C. § 3041, because his conviction is “unsupported by
substantial evidence after review of the whole record.” Compl. at 1. Additionally, Mr.
Fabian alleges that he currently remains incarcerated “contrary to constitutional right,
power, privilege, and immunity in violation of” various Constitutional provisions and
other statutes. Id. at 1. On August 25, 2020, Mr. Fabian filed a motion for leave to
proceed in forma pauperis, which hereby is GRANTED.

      For the reasons explained below, Mr. Fabian’s Complaint is DISMISSED
pursuant to Rule 12(h)(3) of the Rules of the United States Court of Federal Claims
(“RCFC”).

        The Court has a duty to ensure that it has jurisdiction over any claim presented.
See, e.g., St. Bernard Parish Gov’t v. United States, 916 F.3d 987, 992–93 (Fed. Cir. 2019).
This means that “[i]f the court determines at any time that it lacks subject-matter
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jurisdiction, the court must dismiss the action.” RCFC 12(h)(3). In that regard, the
United States government cannot be sued without its consent (i.e., in the absence of a
waiver of sovereign immunity). FDIC v. Meyer, 510 U.S. 471, 475 (1994). Accordingly,
“except as Congress has consented to a cause of action against the United States, ‘there
is no jurisdiction in the Court of [Federal] Claims more than in any other court to
entertain suits against the United States.’” United States v. Testan, 424 U.S. 392, 400
(1976) (quoting United States v. Sherwood, 312 U.S. 584, 587-588 (1941)).

       Generally, “the jurisdiction of the Court of Federal Claims is defined by the
Tucker Act, which gives the court authority to render judgment on certain monetary
claims against the United States.” RadioShack Corp. v. United States, 566 F.3d 1358, 1360
(Fed. Cir. 2009). The bounds of the Court’s jurisdiction under the Tucker Act are
defined in 28 U.S.C. § 1491, which provides:

        The United States Court of Federal Claims shall have jurisdiction
        to render judgment upon any claim against the United States
        founded either upon the Constitution, or any Act of Congress or
        any regulation of an executive department, or upon any express or
        implied contract with the United States, or for liquidated or
        unliquidated damages in cases not sounding in tort.

28 U.S.C. § 1491(a)(1).

       In addition to providing this Court with jurisdiction, the Tucker Act waives the
sovereign immunity of the United States “[f]or actions pursuant to contracts with the
United States, actions to recover illegal exactions of money by the United States, and
actions brought pursuant to money-mandating statutes, regulations, executive orders,
or constitutional provisions[.]” Roth v. United States, 378 F.3d 1371, 1384 (Fed. Cir. 2004).
The Tucker Act, however, “does not create a substantive cause of action[,]” Fisher v.
United States, 402 F.3d 1167, 1172 (Fed. Cir. 2005), and “[n]ot every claim invoking the
Constitution, a federal statute, or a regulation is cognizable under the Tucker Act.”
United States v. Mitchell, 463 U.S. 206, 216 (1983).

        Although pro se pleadings are entitled to receive a more liberal construction than
the Court would give to pleadings prepared by counsel, see United States v. Sineneng-
Smith, 140 S. Ct. 1575, 1579 (2020), that does not relieve a pro se plaintiff from the
responsibility of satisfying this Court’s jurisdictional requirements. See Reynolds v.
Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988). Taking into
consideration Mr. Fabian’s pro se status by broadly construing his arguments – and
assuming that all of his allegations are true, as the Court must at this stage – this Court
nevertheless finds that none of Mr. Fabian’s claims fall within our jurisdiction. Mr.
Fabian’s Complaint fails to establish this Court’s “jurisdiction to entertain the suit” for
at least four reasons. Georgetown Steel Corp. v. United States, 801 F.2d 1308, 1312 (Fed.
Cir. 1986). Accordingly, we must dismiss the Complaint pursuant to RCFC 12(h)(3).

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       First, Mr. Fabian’s Complaint primarily petitions this Court for a writ of habeas
corpus. See Compl. at 1. Granting such a petition, however, is beyond the subject-
matter jurisdiction of this Court, as “the habeas statute does not list the Court of Federal
Claims among those courts empowered to grant a writ of habeas corpus[.]” Ledford v.
United States, 297 F.3d 1378, 1381 (Fed. Cir. 2002). Instead, such “[a] claim for relief from
a judgement of conviction . . . must be brought in federal district court.” Dorsey v.
United States, 2019 WL 6681878, at *3 (Fed. Cl. Dec. 6, 2019) (citing 28 U.S.C. § 2254(f)).

       Second, for a statutory or constitutional provision to serve as the basis for a claim
within this Court’s jurisdiction, the provision, as noted above, must be money-
mandating or support a claim for an illegal exaction. See Testan, 424 U.S. at 398;
Contreras v. United States, 64 Fed. Cl. 583, 588 (2005). For a money-mandating claim, a
plaintiff must identify a separate source of substantive law that ”can fairly be
interpreted as mandating compensation by the Federal Government” to the plaintiff.
Testan, 424 U.S. at 400 (quotations omitted). For an illegal exaction claim, although this
Court may exercise jurisdiction “with no regard for whether the [asserted] statutes [are]
‘money-mandating[,]’” Boeing Co. v. United States, 968 F.3d 1371 (Fed. Cir. 2020), a
plaintiff must still allege that “money was taken by the government and [that] the
exaction violated a provision of the Constitution, a statute, or a regulation.” Piszel v.
United States, 121 Fed. Cl. 793, 801 (2015), aff’d, 833 F.3d 1366 (Fed. Cir. 2016). The
statutory provisions that Mr. Fabian cites in his Complaint are not money-mandating.
Additionally, Mr. Fabian does not claim to have paid any money to the government, let
alone to have done so at the behest of the government and contrary to law.

        Third, to the extent that Mr. Fabian seeks to challenge the merits of his
underlying criminal conviction, this Court lacks jurisdiction to consider such claims.
Sanders v. United States, 252 F.3d 1329, 1335 (Fed. Cir. 2001) (quoting Kania v. United
States, 650 F.2d 264, 268 (Cl. Ct. 1981), for the proposition that the “‘function of
enforcing and policing the criminal law is assigned to the courts of general jurisdiction
and not to [the Court of Federal Claims]’”).

       Fourth, insofar as Mr. Fabian asks this Court to review the decisions or actions of
the United States District Court for the Northern District of New York, this Court does
not have jurisdiction to do so. Joshua v. United States, 17 F.3d 378, 380 (Fed. Cir. 1994)
(noting that “the Court of Federal Claims does not have jurisdiction to review the
decisions of district courts or the clerks of district courts relating to proceedings before
those courts”); Mora v. United States, 118 Fed. Cl. 713, 716 (2014) (“[T]his [C]ourt does
not have jurisdiction to review the decisions of state courts, federal bankruptcy courts,
federal district courts, or federal circuit courts of appeals.”).

       Acccordingly, for all of the foregoing reasons, Mr. Fabian’s hollow reference to
§ 1491(a)(1) is to no avail, Compl. at 1, and this Court lacks subject-matter jurisdiction
over Mr. Fabian’s Complaint.


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       Finally, the Court notes that Mr. Fabian previously attempted to seek the same
writ of habeas corpus in the United States District Court for the District of Columbia.
See Fabian v. Barr, 1:20-cv-00748, ECF No. 1 (D.D.C. Feb. 28, 2020). Subsequently,
Mr. Fabian’s petition was transferred to the United States District Court for the
Northern District of New York, Fabian v. Barr, 9:20-cv-00456, ECF No. 2 (N.D.N.Y. Mar.
31, 2020), where the petition was dismissed without prejudice, Id. ECF No. 7, and
Mr. Fabian’s motion for reconsideration was denied with prejudice. Id. ECF No. 10.
Now, Mr. Fabian, the same plaintiff, seeks to relitigate the same claim (i.e., his prior
unsucessful habeas petition before the district court) before this Court.

        Given that Mr. Fabian’s petition was dismissed by the district court without
prejudice,1 and“dismissal[] without prejudice is a dismissal that does not operate as an
adjudication upon the merits[,] . . . [the prior dismissal] [] does not have a res judicata
effect[]” in this matter. Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 396 (1990); see
Aerolineas Argentinas v. United States, 77 F.3d 1564, 1572 (Fed. Cir. 1996). While
Mr. Fabian perhaps cannot be precluded per se from refiling the same petition before
this Court, his Complaint – based upon the same spurious legal theories – should not
allow him to have another bite at the apple, and this Court would not grant the relief
that Mr. Fabian seeks even if we had jurisdiction. Cf. Aloe Creme Laboratories, Inc. v.
Francine Co., 425 F.2d 1295, 1296 (5th Cir. 1970) (“The District Court clearly had the right
to take notice of its own files and records and it had no duty to grind the same corn a
second time. Once was sufficient.”); Terry v. U.S. Postal Serv., 2011 WL 836761, at *2
(D.S.C. Feb. 11, 2011) (“[T]his duplicate Complaint should be summarily dismissed in
the interest of judicial economy and efficiency.”), report and recommendation adopted,

1Prior to dismissing Mr. Fabian’s habeas petition, the district court issued an earlier Order
which discussed various procedural defects relating to Mr. Fabian’s petition that he had filed
with both that court and with the United States Court of Appeals for the Second Circuit. Fabian
v. Barr, 9:20-cv-00456, ECF No. 5 at 2–3 (N.D.N.Y. Apr. 28, 2020). Particularly, the district court
explained the difference between habeas petitions brought pursuant to 28 U.S.C. §§ 2241 and
2255, and noted that “[w]hile [Mr. Fabian] purports to bring his claims pursuant to section 2241,
he is clearly not challenging the execution of his sentence. Instead, . . . he is plainly challenging
the legality of his criminal prosecution and . . . accordingly, [Mr. Fabian’s] challenges should
actually be brought pursuant to section 2255.” ECF No. 5 at 5. As such, the district court
“notified and advised” Mr. Fabian that he should inform the court in writing as to “whether he:
(1) consents to having his section 2241 petition converted to a section 2255 petition; or (2)
voluntarily withdraws the pending petition instead of having it converted.” Id. at 6–8.
Mr. Fabian thereafter indicated in a filing that he would not consent to the district court
converting his § 2241 petition into a § 2255 petition, and in which he also alleged that the
district court lacked jurisdiction over his petition in the first place. ECF No. 6. The district court
thus held “given [Mr. Fabian’s] clear wish not to continue to pursue his claims via a section 2255
petition and his disagreement with the Court’s jurisdiction over this case, . . . the best course of
action is dismissal without prejudice.” ECF No. 7 at 2–3. Mr. Fabian continued to invoke § 2241
in his Complaint filed with this Court. Compl. at 1.


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2011 WL 837801 (D.S.C. Mar. 7, 2011); Reaves v. Marion Cty., 2010 WL 3699920, at *3
(D.S.C. July 28, 2010) (“duplicate complaint should be dismissed in the interests of
judicial economy and efficiency”), report and recommendation adopted, 2010 WL
3703752 (D.S.C. Sept. 14, 2010); Lilly v. Polsinelli, PC, 552 S.W.3d 562, 565 (Mo. Ct. App.
2018) (highlighting that even “where a petition is dismissed [without prejudice,] . . .
[o]bviously, a claimant cannot refile that same petition without it again being dismissed
on the same grounds[]”); B.H. v. State, Dep’t of Admin. Servs., 103 N.E.3d 169, 175 (Ohio
2017) (“While [] a dismissal [for lack of subject-matter jurisdiction] does not bar refiling
in a different forum, presumably the correct one with jurisdiction over the matter, it
certainly would make futile any attempt by the plaintiff to refile in the same forum the
same claims even if the dismissal was labeled without prejudice”); Goad v. United States,
46 Fed. Cl. 395, 398 (2000) (“This defect of failure to waive sovereign immunity has not
been, and cannot be, cured in the instant complaint and, hence, res judicata applies.”);
Chandler v. United States, 31 Fed. Cl. 106, 111 (1994) (highlighting the need for this Court
to prevent “squander[ing] the resources of the court or defendant with frivolous
litigation”).

       For the foregoing reasons, the Court DISMISSES this matter pursuant to RCFC
12(h)(3).2 The Clerk is directed to enter judgment accordingly.

       It is so ORDERED.




                                                     Matthew H. Solomson
                                                     Matthew H. Solomson
                                                     Judge




2To the extent that Mr. Fabian’s Complaint suggests any alternate grounds for relief, such
contentions have not been sufficiently asserted in his Complaint. Even for a pro se litigant, this
Court cannot “create a claim which [the plaintiff] has not spelled out in his pleading[.]” Scogin
v. United States, 33 Fed. Cl. 285, 293 (1995) (quotation omitted).

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